     Case
      Case2:13-cr-00018-JCM-GWF  Document 303-1
           2:13-cr-00018-JCM-GWF Document 305 Filed
                                                Filed 07/09/14  Page11ofof11
                                                      07/08/14 Page



 1   MAX E. CORRICK, II
     Nevada Bar No. 006609
 2   OLSON, CANNON, GORMLEY
     ANGULO & STOBERSKI
 3   9950 W. Cheyenne Avenue
     Las Vegas NV 89129
 4   Email: mcorrick@ocgas.com
     Tel. (702) 384-4012
 5
     Attorneys for Keith E. Gregory
 6

 7
                              IN THE UNITED STATES DISTRICT COURT
 8                                    DISTRICT OF NEVADA

 9   UNITED STATES OF AMERICA,                        Case No.: 2:13-cr-00018-JCM-GWF

10   Plaintiff,

11   v.

12   LEON BENZER, KEITH GREGORY, et al.,

13
     Defendants.
14

15
            PROPOSED ORDER GRANTING KEITH E. GREGORY’S MOTION TO SEAL
16           HIS EX PARTE MOTION FOR FUNDING OF DEFENSE EXPENSES UNDER
                              THE CRIMINAL JUSTICE ACT
17

18           Upon consideration of Movants Keith E. Gregory Motion to Seal His Ex Parte Motion for

19   Funding of Defense Expenses Under the Criminal Justice Act.

20           IT IS HEREBY ORDERED that Movants’ Motion to Seal His Ex Parte Motion for Funding
21    of Defense Expenses Under the Criminal Justice Act is granted.
22                             9th                      July
             SO ORDERED this _________ day of _______________________________, 2014.
23

24

25

26                                              ________________________________________
                                                      U.S. DISTRICT
                                                 GEORGE    FOLEY, JR.COURT JUDGE
27                                               United States Magistrate Judge
28
